             Case 2:17-cv-00055-BMM            Document 27       Filed 08/06/18     Page 1 of 2



 1   Michael A. Viscomi
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 4
     Settlement Master/Mediator
 5
 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                     FOR THE DISTRICT OF MONTANA
 9                                          BUTTE DIVISION

10   MAXUM INDEMNITY COMPANY,
                                                                CASE No. CV-17-55-BU-BMM
11
                    Plaintiff,
12                                                                   SETTLEMENT
            vs.                                                   CONFERENCE REPORT
13
14   MOUNT ZION, INC., BOLES CUSTOM
     BUILDERS, INC., and SUNRISE RIDGE
15   CONDOMINIUMS OWNERS
16   ASSOCIATION,

17                  Defendants.
18          The undersigned Settlement Master/Mediator, having participated in a settlement
19   conference in the referenced case, reports as follows:
20
     PLAINTIFF'S COUNSEL present:                  Michael S. Knippen, Esq.
21

22   DEFENDANT MOUNT ZION, INC.'S
     COUNSEL present:                              Fredrick P. Landers, Esq.
23
     DEFENDANT SUNRISE RIDGE'S
24
     COUNSEL present:                              Glenn E. Tremper, Esq.
25
     PARTIES present:                              Maxum Indemnity Company representative available
26
                                                    by telephone, Plaintiff
27                                                 Mt. Zion, Inc., representative available by telephone,
                                                    Defendant
28                                                 Sunrise Ridge Condominiums Owners Association, Inc.,
29                                                   board representatives available by telephone, Plaintiff


     SETTLEMENT CONFERENCE REPORT                                                         PAGE I
             Case 2:17-cv-00055-BMM           Document 27        Filed 08/06/18    Page 2 of 2



     DATE AND TIME OF CONFERENCE:                 May 10, 2018, at 9:00 a.m.
 I
 2   CASE TYPE:                                   Declaratory relief
 3   TIME SPENT: 17.1 hours                    HOURS BILLED: 17.1 hours
 4         (Time includes concurrent mediation of related Montana Fifth District Court case)

 5   RESULT:
 6                 Case fully settled at conference         XXX
                   Case partially settled at conference
 7                 Case not settled/total impasse
 8
     ADDITIONAL COMMENTS:
 9             None

10

11          DATED this 2 nd day of August, 2018.
12

13                                                        -Settlement Master/Mediator-
                                                           Michael A. Viscomi, Esq.
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15
     cc: Counsel of record
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     SETTLEMENT CONFERENCE REPORT                                                        PAGE2
